OPINION — AG — QUESTION: "IS THE TAX EXEMPTION ALLOWED `MORRIS PLAN COMPANIES' IN 68 O.S. 1965 Supp., 2503 [68-2503](D) CONSTITUTIONAL?" — AFFIRMATIVE KEY WORDS: STATE AND NATIONAL BANKS, INTANGIBLE PROPERTY, ACCORDING TO NET INCOME  CITE: ARTICLE V, SECTION 50, ARTICLE X, SECTION 12, 68 O.S. 1965 Supp., 2502 [68-2502] (BRIAN UPP) ** SEE: OPINION NO. 68-106 (1968) ** ** SEE: OPINION NO. 68-208 (1968) **